              Case 2:14-cr-00168-TOR                       ECF No. 1251               filed 10/22/15        PageID.6752 Page 1 of 7
                                                                                                                                       FILED IN THE
 2$2%        5HY -XGJPHQWLQD&ULPLQDO&DVH                                                                           U.S. DISTRICT COURT
                6KHHW5HYLVHGE\:$('                                                                           EASTERN DISTRICT OF WASHINGTON



                                                                                                                               Oct 22, 2015
                                              81,7('67$7(6',675,&7&2857                                                        SEAN F. MCAVOY, CLERK

                                                (DVWHUQ'LVWULFW RI :DVKLQJWRQ
           81,7('67$7(62)$0(5,&$                                            JUDGMENT IN A CRIMINAL CASE
                      V.
                                                                              &DVH1XPEHU            2:14CR00168-TOR-13
                     EMMA MAY PAEZ
                                                                              8601XPEHU             49601-048

                                                                                     John H. Loeffler
                                                                              'HIHQGDQW¶V$WWRUQH\




 THE DEFENDANT

 ✔SOHDGHGJXLOW\WRFRXQW V
 G                                     1 of the Indictment
 G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
    ZKLFKZDVDFFHSWHGE\WKHFRXUW
 G ZDVIRXQGJXLOW\RQFRXQW V
    DIWHUDSOHDRIQRWJXLOW\

 7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

 Title & Section                    Nature of Offense                                                                          Offense Ended        Count
18 U.S.C. §§ 1344, 1349           Conspiracy to Commit Bank Fraud                                                                 10/08/13                1




        7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK                        7        RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
 WKH6HQWHQFLQJ5HIRUP$FWRI
 G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
 ✔&RXQW V
 G                68 and 71                                  G LV       ✔DUHGLVPLVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
                                                                        G
          ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
 RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,IRUGHUHGWRSD\UHVWLWXWLRQ
 WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                                                                     10/22/2015
                                                              'DWHRI,PSRVLWLRQRI-XGJPHQW
                                                                                RQRI-XGJPHQW




                                                              6LJQDWXUHRI-XGJH
                                                                                JH




                                                             The Honorable Thomas O. Rice                         Judge, U.S. District Court
                                                              1DPHDQG7LWOHRI-XGJH
                                                              


                                                                                                     10/22/2015
                                                              'DWH
                                                              
               Case 2:14-cr-00168-TOR                   ECF No. 1251             filed 10/22/15       PageID.6753 Page 2 of 7
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                                                                                                           -XGJPHQW²3DJH   2   RI   7
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                                                                IMPRISONMENT

        7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUD
WRWDOWHUPRI      time served

 (which is approx. 3 days)




  G 7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV




  G 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO

  G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
          G     DW                                     G DP     G SP          RQ                                         

          G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

  G 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
          G     EHIRUHSPRQ                                             

          G     DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

          G     DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                      RETURN
,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




          'HIHQGDQWGHOLYHUHGRQ                                                             WR

DW                                                     ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



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              Case 2:14-cr-00168-TOR                     ECF No. 1251        filed 10/22/15        PageID.6754 Page 3 of 7
$2%       5HY -XGJPHQWLQD&ULPLQDO&DVH
             6KHHW²6XSHUYLVHG5HOHDVH

                                                                                                          -XGJPHQW²3DJH
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                                                          SUPERVISED RELEASE
8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI              3 years



        7KHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHGLVWULFWWRZKLFKWKHGHIHQGDQWLVUHOHDVHGZLWKLQKRXUVRIUHOHDVHIURPWKH
FXVWRG\RIWKH%XUHDXRI3ULVRQV
7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
7KHGHIHQGDQWVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH7KHGHIHQGDQWVKDOOUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHG
VXEVWDQFH7KHGHIHQGDQWVKDOOVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWV
WKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKHGHIHQGDQWSRVHVDORZULVNRI
      IXWXUHVXEVWDQFHDEXVH(Check, if applicable.)

✔ 7KHGHIHQGDQWVKDOOQRWSRVVHVVDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ(Check, if applicable.)
G
✔ 7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(Check, if applicable.)
G

G 7KHGHIHQGDQWVKDOOFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW      86&et seq
  DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFKKHRUVKHUHVLGHV
      ZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(Check, if applicable.)

G 7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(Check, if applicable.)
        ,IWKLVMXGJPHQWLPSRVHVDILQHRUUHVWLWXWLRQLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDWWKHGHIHQGDQWSD\LQDFFRUGDQFHZLWKWKH
6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW
          7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\DGGLWLRQDO
                                                                                                                                    FRQGLWLRQV
RQWKHDWWDFKHGSDJH

                                          STANDARD CONDITIONS OF SUPERVISION
         WKHGHIHQGDQWVKDOOQRWOHDYHWKHMXGLFLDOGLVWULFWZLWKRXWWKHSHUPLVVLRQRIWKHFRXUWRUSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHULQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUWRUSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOODQVZHUWUXWKIXOO\DOOLQTXLULHVE\WKHSUREDWLRQRIILFHUDQGIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHU
         WKHGHIHQGDQWVKDOOVXSSRUWKLVRUKHUGHSHQGHQWVDQGPHHWRWKHUIDPLO\UHVSRQVLELOLWLHV
         WKHGHIHQGDQWVKDOOZRUNUHJXODUO\DWDODZIXORFFXSDWLRQ XQOHVVH[FXVHGE\WKHSUREDWLRQRIILFHUIRUVFKRROLQJWUDLQLQJRURWKHU
          DFFHSWDEOHUHDVRQV
         WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWWHQGD\VSULRUWRDQ\FKDQJHLQUHVLGHQFHRUHPSOR\PHQW
         WKHGHIHQGDQWVKDOOUHIUDLQIURPH[FHVVLYHXVHRIDOFRKRODQGVKDOOQRWSXUFKDVHSRVVHVVXVHGLVWULEXWHRUDGPLQLVWHUDQ\
          FRQWUROOHGVXEVWDQFHRUDQ\SDUDSKHUQDOLDUHODWHGWRDQ\FRQWUROOHGVXEVWDQFHVH[FHSWDVSUHVFULEHGE\DSK\VLFLDQPDULMXDQDLV
         SURKLELWHG
          WKHGHIHQGDQWVKDOOQRWIUHTXHQWSODFHVZKHUHFRQWUROOHGVXEVWDQFHVDUHLOOHJDOO\VROGXVHGGLVWULEXWHGRUDGPLQLVWHUHG
         WKHGHIHQGDQWVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQVHQJDJHGLQFULPLQDODFWLYLW\DQGVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQFRQYLFWHGRID
          IHORQ\XQOHVVJUDQWHGSHUPLVVLRQWRGRVRE\WKHSUREDWLRQRIILFHU
        WKHGHIHQGDQWVKDOOSHUPLWDSUREDWLRQRIILFHUWRYLVLWKLPRUKHUDWDQ\WLPHDWKRPHRUHOVHZKHUHDQGVKDOOSHUPLWFRQILVFDWLRQRIDQ\
          FRQWUDEDQGREVHUYHGLQSODLQYLHZRIWKHSUREDWLRQRIILFHU
        WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUZLWKLQVHYHQW\WZRKRXUVRIEHLQJDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU
        WKHGHIHQGDQWVKDOOQRWHQWHULQWRDQ\DJUHHPHQWWRDFWDVDQ LQIRUPHURU DVSHFLDODJHQWRIDODZHQIRUFHPHQWDJHQF\ZLWKRX WWKH
          SHUPLVVLRQRIWKHFRXUWDQG

        DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKHGHIHQGDQWVKDOOQRWLI\WKLUGSDUWLHVRIULVNVWKDWPD\EHRFFDVLRQHGE\WKHGHIHQGDQW¶VFULPLQDO
          UHFRUGRUSHUVRQDOKLVWRU\RUFKDUDFWHULVWLFVDQGVKDOOSHUPLWWK HSUREDWLRQRIILFHUWRPDNHVXFKQRWLILFDWLRQVDQGWRFRQILUP WKH
          GHIHQGDQW¶VFRPSOLDQFHZLWKVXFKQRWLILFDWLRQUHTXLUHPHQW
           Case 2:14-cr-00168-TOR                     ECF No. 1251     filed 10/22/15        PageID.6755 Page 4 of 7
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           6KHHW&²6XSHUYLVHG5HOHDVH
                                                                                                     -XGJPHQW²3DJH     4      RI         7
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                                         SPECIAL CONDITIONS OF SUPERVISION
 14) Defendant shall complete a mental health evaluation and follow any treatment recommendations of the evaluating professional
 which do not require forced or psychotropic medication and/or inpatient confinement, absent further order of the court. Defendant shall
 allow reciprocal release of information between the supervising officer and treatment provider. Defendant shall contribute to the cost of
 treatment according to her ability to pay.

 15) Defendant shall not enter into or remain in any establishment where alcohol is the primary item of sale.

 16) Defendant shall abstain from the use of illegal controlled substances, and shall submit to urinalysis and sweat patch testing, as
 directed by the supervising officer, but no more than 6 tests per month, in order to confirm continued abstinence from these substances.

 17) Defendant shall abstain from alcohol and shall submit to urinalysis and Breathalyzer testing, as directed by the supervising officer,
 but no more than 6 tests per month, in order to confirm continued abstinence from this substance.

 18) Defendant shall undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into and
 successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare.
 Defendant shall contribute to the cost of treatment according to her ability to pay. Defendant shall allow full reciprocal disclosure
 between the supervising officer and treatment provider.

 19) Defendant shall provide the supervising officer with access to any requested financial information, including authorization to
 conduct credit checks and obtain copies of your federal income tax returns. Defendant shall disclose all assets and liabilities to the
 supervising officer. Defendant shall not transfer, sell, give away, or otherwise convey any asset, without the advance approval of the
 supervising officer.

 20) Defendant shall not incur any new debt, open additional lines of credit, or enter into any financial contracts, without the advance
 approval of the supervising officer.

 21) Defendant shall submit her person, residence, office, vehicle and belongings to a search, conducted by a probation officer, at a
 sensible time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision.
 Failure to submit to search may be grounds for revocation. Defendant shall warn persons with whom she shares a residence that the
 premises may be subject to search.
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           6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV
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                                                CRIMINAL MONETARY PENALTIES
     7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                      Assessment                                    Fine                                  Restitution
TOTALS                $100.00                                       $0.00                                 $1,208.56


G 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO            $QAmended Judgment in a Criminal Case $2& ZLOOEHHQWHUHG
    DIWHUVXFKGHWHUPLQDWLRQ

✔ 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
G
    ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
    WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
    EHIRUHWKH8QLWHG6WDWHVLVSDLG

Name of Payee                                                        Total Loss*          Restitution Ordered        Priority or Percentage

  Wal-Mart                                                                    $1,208.56                  $1,208.56




TOTALS                                                  1,208.56                            1,208.56


G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
      ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
      WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

G     7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

      G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH G ILQH G UHVWLWXWLRQ
      G WKHLQWHUHVWUHTXLUHPHQWIRUWKH G ILQH G UHVWLWXWLRQLVPRGLILHGDVIROORZV


 )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQRUDIWHU
6HSWHPEHUEXWEHIRUH$SULO
            Case 2:14-cr-00168-TOR                      ECF No. 1251         filed 10/22/15      PageID.6757 Page 6 of 7
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                                                                                                         -XGJPHQW²3DJH     6      RI       7
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&$6(180%(5 2:14CR00168-TOR-13

                                                        SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVDUHGXHDVIROORZV

A    G     /XPSVXPSD\PHQWRI                            GXHLPPHGLDWHO\EDODQFHGXH

           G     QRWODWHUWKDQ                                   RU
           G     LQDFFRUGDQFH           G &          G '   G     (RU    G )EHORZRU
B    ✔ 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK
     G                                                                      G &     G 'RU     ✔)EHORZ RU
                                                                                                 G
C    G     3D\PHQWLQHTXDO                    HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                      RYHUDSHULRGRI
                        HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D    G     3D\PHQWLQHTXDO                     HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI                    RYHUDSHULRGRI
                         HJPRQWKVRU\HDUV WRFRPPHQFH                 HJRUGD\V DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
           WHUPRIVXSHUYLVLRQRU

E    G     3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                  HJRUGD\V DIWHUUHOHDVHIURP
           LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F    ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
     G


     While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
     defendant's net household income, whichever is larger, commencing 30 days after the defendant is released from imprisonment.



8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXH
GXULQJLPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHSW WKRVH SD\PHQWVPDGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶,QPDWH)LQDQFLDO
5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHIROORZLQJDGGUHVVXQWLOPRQHWDU\SHQDOWLHVDUHSDLGLQIXOO&OHUN86'LVWULFW&RXUW$WWHQWLRQ
)LQDQFH32%R[6SRNDQH:$

7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG

✔ -RLQWDQG6HYHUDO
G
     &DVH1XPEHUV LQFOXGLQJGHIHQGDQWQXPEHU DQG'HIHQGDQWDQG&R'HIHQGDQW1DPHV7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
     DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH
          14CR168TOR-1 Robin Griffith                          $1,208.56           $1,208.56     Wal-Mart
          14CR168TOR-2 Brenda Lynch                            $1,208.56           $1,208.56     Wal-Mart
          14CR168TOR-3 Melanie Christopherson                  $1,208.56           $1,208.56     Wal-Mart
G    7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ

G    7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 

G    7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV




3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
  ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
          Case 2:14-cr-00168-TOR                     ECF No. 1251      filed 10/22/15      PageID.6758 Page 7 of 7
$2%    5HY -XGJPHQWLQD&ULPLQDO&DVH
          6KHHW$²6FKHGXOHRI3D\PHQWV
                                                                                               -XGJPHQW²3DJH   7     RI    7
'()(1'$17 EMMA MAY PAEZ
&$6(180%(5 2:14CR00168-TOR-13

      ADDITIONAL DEFENDANTS AND CO-DEFENDANTS HELD JOINT AND SEVERAL
Case Number
Defendant and Co-Defendant Names                                       Joint and Several             Corresponding Payee,
(including defendant number)                          Total Amount          Amount                      If appropriate
 14CR168TOR-4 Allonda Smith                                $1,208.56          $1,208.56                   Wal-Mart
